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 8
 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12 UNITED STATES OF AMERICA,                  Case No. 2:19-cr-00642-VAP
13          Plaintiff,                        DECLARATION OF THOMAS P.
                                              O’BRIEN REGARDING
14         vs.                                DEFENDANT ZUBERI’S
                                              PASSPORT
15 IMAAD SHAH ZUBERI,
                                              Judge: Hon. Virginia A. Phillips
16         Defendant.                         Trial Date: None Set
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          DECLARATION OF THOMAS P. O’BRIEN REGARDING DEFENDANT ZUBERI’S PASSPORT
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 1                    DECLARATION OF THOMAS P. O'BRIEN
 2        I, Thomas P. O’Brien, declare and state as follows:
 3        1.     I am an attorney at law, duly admitted to practice before this Court and
 4 all courts of the State of California. I am a partner with Browne George Ross LLP,
 5 counsel of record for Defendant Imaad Shah Zuberi in this matter. I have firsthand,
 6 personal knowledge of the facts set forth below and if called as a witness could
 7 competently testify thereto.
 8        2.     On October 30, 2019, upon his initial appearance before Magistrate
 9 Judge Charles F. Eick, Mr. Zuberi filed a form CR-37 stating that he would
10 surrender his passport to the U.S. Pretrial Services. (Dkt. 16.)
11        3.     During the information hearing, at the government’s request, the Court
12 ordered Mr. Zuberi to surrender his passport to me. (Dkt. 12.) The Court, also at
13 the request of the government, ordered that Mr. Zuberi will not engage in any
14 international travel prior to his change of plea hearing. (Id.) Under the Court’s
15 order, after the change of plea hearing I may release Mr. Zuberi’s passport to him
16 for international travel in accordance with a preapproved itinerary that is submitted
17 to the United States Attorney’s Office. (Id.)
18        4.     I am currently in possession of Mr. Zuberi’s passport, where it will
19 remain unless I receive express approval from the United States Attorney’s Office
20 permitting Mr. Zuberi to travel abroad. Immediately upon his return from any
21 preapproved international travel, I will ensure Mr. Zuberi returns his passport to me.
22        Executed this 15th day of November 2019, at Los Angeles, California.
23        I declare under penalty of perjury under the laws of the United States of
24 America that the foregoing is true and correct.
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28                                                   Thomas P. O'Brien

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          DECLARATION OF THOMAS P. O’BRIEN REGARDING DEFENDANT ZUBERI’S PASSPORT
